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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al., 1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                                      CERTIFICATE OF SERVICE

      I, Michael Villa, depose and say that I am employed by Kurtzman Carson Consultants LLC
(KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On January 9, 2024, at my direction and under my supervision, employees of KCC caused
to be served the following document via Electronic Mail upon the service list attached hereto as
Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

    •    Fifth Monthly Fee Application of Kurtzman Carson Consultants LLC, as
         Administrative Advisor to the Debtors, for the Period from November 1, 2023
         Through and Including November 30, 2023 [Docket No. 893]

        Furthermore, on January 9, 2024, at my direction and under my supervision, employees of
KCC caused to be served the following document Electronic Mail upon the service list attached
hereto as Exhibit C; and via First Class Mail upon the service list attached hereto as Exhibit D:

    •    Notice of Filing of Debtors' Second Quarterly Statement Regarding Payments Made
         to Ordinary Course Professionals for Services Rendered During the Period October
         1, 2023 Through December 31, 2023 [Docket No. 894]

Dated: January 12, 2024
                                                               /s/ Michael Villa
                                                               Michael Villa
                                                               KCC
                                                               222 N Pacific Coast Highway, 3rd Floor
                                                               El Segundo, CA 90245
                                                               Tel 310.823.9000




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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                    Exhibit A
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                                                                 Exhibit A
                                                        Fee Application Service List
                                                         Served via Electronic Mail


             Description                      CreditorName                  CreditorNoticeName                        Email
  Counsel to the Official Committee    Brown Rudnick LLP                  Matthew A. Sawyer,        msawyer@brownrudnick.com;
                                                                          Robert J. Stark, Bennett rstark@brownrudnick.com;
  Counsel to the Official Committee                                       S. Silverberg, Michael S. bsilverberg@brownrudnick.com;
  of Equity Security Holders           Brown Rudnick LLP                  Winograd                  mwinograd@brownrudnick.com
  Debtors                              Lordstown Motors Corp.             Attn: Adam Kroll          Email Redacted
  Counsel to the Official Committee                                       Eric J. Monzo, Brya M.    emonzo@morrisjames.com;
  of Equity Security Holders           Morris James LLP                   Keilson                   bkeilson@morrisjames.com
                                       Office of the United States                                  USTPRegion03.WL.ECF@USDOJ.GOV;
  US Trustee for District of DE        Trustee Delaware                   Benjamin Hackman          benjamin.a.hackman@usdoj.gov
  Counsel to the Official Committee    Troutman Pepper Hamilton           David M. Fournier, Tori david.fournier@troutman.com;
  of Unsecured Creditors               Sanders LLP                        L. Remington              tori.remington@troutman.com
  Counsel to the Official Committee    Troutman Pepper Hamilton
  of Unsecured Creditors               Sanders LLP                        Deborah Kovsky-Apap   deborah.kovsky@troutman.com
  Counsel to the Official Committee    Troutman Pepper Hamilton
  of Unsecured Creditors               Sanders LLP                        Francis J. Lawall     francis.lawall@troutman.com
  Counsel to the Official Committee    Troutman Pepper Hamilton
  of Unsecured Creditors               Sanders LLP                        Sean P. McNally       sean.mcnally@troutman.com
  Co-Counsel for the Debtors and
  Debtors-in-Possession                White & Case LLP                   David M. Turetsky     david.turetsky@whitecase.com
  Co-Counsel for the Debtors and
  Debtors-in-Possession                White & Case LLP                   Jason N. Zakia         jzakia@whitecase.com
                                                                                                 rkampfner@whitecase.com;
  Co-Counsel for the Debtors and                                          Roberto Kampfner, Doah doah.kim@whitecase.com;
  Debtors-in-Possession                White & Case LLP                   Kim, RJ Szuba          rj.szuba@whitecase.com
                                                                          Thomas E Lauria,       tlauria@whitecase.com;
  Co-Counsel for the Debtors and                                          Matthew C. Brown, Fan mbrown@whitecase.com;
  Debtors-in-Possession                White & Case LLP                   B. He                  fhe@whitecase.com
  Local Co-Counsel for the Debtors     Womble Bond Dickinson (US)         Donald J. Detweiler,   don.detweiler@wbd-us.com;
  and Debtors-in-Possession            LLP                                Morgan L. Patterson    morgan.patterson@wbd-us.com




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                    Exhibit B
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                                                                            Exhibit B
                                                                   Fee Application Service List
                                                                    Served via First Class Mail

                   Description                   CreditorName           CreditorNoticeName      Address1      Address2     City    State Zip
                                          Office of the United States                        844 King St Ste
          US Trustee for District of DE   Trustee Delaware              Benjamin Hackman     2207            Lockbox 35 Wilmington DE   19801




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                    Exhibit C
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                                                            Exhibit C
                                                  OCP Notice Parties Service List
                                                    Served via Electronic Mail


             Description                    CreditorName         CreditorNoticeName                        Email
 Counsel to the Official Committee                              Matthew A. Sawyer,      msawyer@brownrudnick.com;
 of Equity Security Holders            Brown Rudnick LLP        Sharon I. Dwoskin       sdwoskin@brownrudnick.com
                                                                Robert J. Stark,        rstark@brownrudnick.com;
 Counsel to the Official Committee                              Bennett S. Silverberg,  bsilverberg@brownrudnick.com;
 of Equity Security Holders            Brown Rudnick LLP        Michael S. Winograd     mwinograd@brownrudnick.com
 Counsel to the Official Committee                              Eric J. Monzo, Brya M.  emonzo@morrisjames.com;
 of Equity Security Holders            Morris James LLP         Keilson                 bkeilson@morrisjames.com
                                       Office of the United States                      USTPRegion03.WL.ECF@USDOJ.GOV;
 US Trustee for District of DE         Trustee Delaware            Benjamin Hackman     benjamin.a.hackman@usdoj.gov
 Counsel to the Official Committee     Troutman Pepper Hamilton David M. Fournier, Tori david.fournier@troutman.com;
 of Unsecured Creditors                Sanders LLP                 L. Remington         tori.remington@troutman.com
 Counsel to the Official Committee     Troutman Pepper Hamilton
 of Unsecured Creditors                Sanders LLP                 Deborah Kovsky-Apap deborah.kovsky@troutman.com
 Counsel to the Official Committee     Troutman Pepper Hamilton
 of Unsecured Creditors                Sanders LLP                 Francis J. Lawall    francis.lawall@troutman.com
 Counsel to the Official Committee     Troutman Pepper Hamilton
 of Unsecured Creditors                Sanders LLP                 Sean P. McNally      sean.mcnally@troutman.com




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                    Exhibit D
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                                                                           Exhibit D
                                                                 OCP Notice Parties Service List
                                                                   Served via First Class Mail

                     Description                   CreditorName           CreditorNoticeName    Address1 Address2        City    State Zip
                                            Office of the United States                        844 King St
            US Trustee for District of DE   Trustee Delaware              Benjamin Hackman     Ste 2207    Lockbox 35 Wilmington DE   19801




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